   2:23-cv-01452-JD-MGB            Date Filed 11/06/23       Entry Number 27          Page 1 of 2



                                                                                         • ~)
                                                                                                 '
                                                                                                i ;.__/



                                                                          \f. \·Ll '\L   ~LtSlO,:,
                                                                        EH,,,  ., i .. •
                                       Jay Connor                                 9
                                215 East Bay Street 201-F 1ffl'3 MO'J - E, ?~ S: 0
                                  Charleston, SC 29401
                                   Jayc650@hush.com

November 6, 2023

CLERK OF COURT
United States District Court
District of South Carolina
Charleston Division
P.O. Box 835
Charleston, SC 29402

RE:     Jay Connor v. First Choice Media LLC and Joe Mclendon lndividu Uy and John
        Does 1-10
        Case No. 2:23-cv-1452-JD-MGB
        Letter Motion for Issuance of Subpoenas

Dear Clerk:

        Pursuant to Federal Rule of Procedure 45(a)(3), and with the permissio of the court, I

am requesting the clerk issue the attached subpoenas to Healthside Inc. and Jas n Lavoie. The

attached subpoenas (Exhibit A) seek information associated with the order and elivery of covid

testing kits resulting from calls alleged in the lawsuit. (Exhibit B)

        For background, Plaintiff has alleged he received multiple anonymous,           solicited,

unlawful calls by or on behalf of the defendants in a scheme to acquire approva from Medicare

recipients to receive covid testing kits, paid by Medicare, then ship the covid te ting kits to the

call recipients.

        As alleged in the lawsuit, after multiple unwanted anonymous calls, Pla ntiff consented to

receive a shipment of testing kits to identify the source of the harassment, and r ceived a

shipment identifying an address with an alias business name. Upon further inve tigation, Plaintiff

identified Healthside Inc. on the Florida Secretary of State website, (See Exhib C) as the
    2:23-cv-01452-JD-MGB           Date Filed 11/06/23     Entry Number 27        Page 2 of 2




company affiliated with the address, not At Home Covid Testing Kit, as listed o the return

shipping label.

       Upon information and belief, Healthside, Inc., or its president, Jason La oie, is in

possession of records that will show identifying information of the parties respo sible for the

unlawful calls.



        Thank you in advance for your consideration.




                  Sincerely,




                           L-
                       . Connor Plaintiff Pro Se
                    5 East Bay Street 201-F
                  Charleston, SC 29401
                  843-557-5724
                  Jayc650@hush.com


                  November 6, 2023
